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6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7                                      AT SEATTLE
8

9                                                )
                                                 )
10                                                 Case No.: 2:17-cv-01374-RSL
     AMINA BALA,                                 )
11
                                                 ) NOTICE OF VOLUNTARY DISMISSAL
        Plaintiff,                               )
12                                               )
             vs.                                 )
13                                               )
14   ALLIANCEONE RECEIVABLES                     )
     MANAGEMENT, INC.,                           )
15                                               )
        Defendant.                               )
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            Pursuant to FRCP 41, NOTICE IS HEREBY GIVEN that Plaintiff has filed with the
18
     Clerk of the District Court of Washington, Western District, Plaintiff’s Notice of Voluntary
19

20   Dismissal of Case With Prejudice.

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22
                                                  Dated this 5th day of February, 2018
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24
                                                      By:__s/Joshua Trigsted____
25                                                    Joshua Trigsted, WSBA#42917
                                                      Attorney for Plaintiff
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      NOTICE OF VOLUNTARY                                          Trigsted Law Group, P.C.
      DISMISSAL                                                    5200 SW Meadows Rd, Ste 150
      Case No. 2:17-cv-01374-RSL                                   Lake Oswego, OR 97035
                                                                   (888)595-9111x216

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